Case 1:19-cv-01792-CFC-SRF Document 1-1 Filed 09/24/19 Page 1 of 1 PageID #: 3


                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


 HELIOS STREAMING, LLC, and
 IDEAHUB, INC.,

                     Plaintiffs,
                                            C.A. No. ____________
               v.

 VUDU, INC.,

                     Defendant.


                    [PROPOSED] ORDER GRANTING PLAINTIFFS’
                    MOTION FOR LEAVE TO FILE UNDER SEAL

      AND NOW, this                day of     , 2019, upon consideration of Plaintiffs’

Motion to File Under Seal (“Motion”) and good cause appearing therefore, it is hereby

ORDERED that the Motion is GRANTED.

      IT IS SO ORDERED.

                                                BY THE COURT:




                                                United States District Court
